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Case 5:04-cv- -00233- BRW Document 2 Filed 06/17/04 Pageslof. 43

IN THE UNITED STATES DISTRICT COURT EAsTE WB rh! iS ayer

 

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EASTERN DIVISION OF ARKANSAS JUN 17 200 .
LITTLE ROCK DIVISION JAMES yy Moco 4
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Charles D. Young Plaintiff
Vs. No, 8704-CV-233 GH ad!
City of Little Rock Defendants
County of Pulaski

Pulaski County Prosecuting Attorney’s Office
Probation Office; J.C. Smith, Probation Officer
Jana Pinkston, Lea Ellen Fowler, Attorney-at-Law

Other as Yet Unidentified John Does . /
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This case assigne,
and to Magistrate Judge

 
 

Information / Complaint

Comes now the Plaintiff, Charles D. Young, Personally and “Pro-se,” and for his complaint
hereby states: .
 

 

 

Case 5:04-cm02 35 Op PS bee! 06/17/04 Page 2 of 43
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Case 5:04-cv-00233-BRW Document 2 Filed 06/17/04 Page 43 of 43 °°
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; . IC-STATE OF ARKANSAS
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My Commission Expires: \ - 30-2005

ABC-CBC— baG2

 
